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              EXHIBIT B-2
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                                              January 31, 2022

      Via Email foxp@dcodc.org Only

      Hamilton P. ("Phil") Fox, III
      Disciplinary Counsel
      Office of the Disciplinary Counsel
      Building A, Room 117
      515 5th Street NW,
      Washington, DC 20001

          Re: Disciplinary Docket No. 2021-D193 (Disciplinary Counsel & Jeffrey Clark)

         RESPONSE TO SUBPOENA DATED 11/22/21, REQUEST FOR DEFERRAL,AND
                               RELATED ISSUES

      Dear Mr. Fox:

              Let me begin by thanking you on behalf of Mr. Clark for your patience during the
      month of December 2020 in communicating with him before he had counsel signed up
      for this matter, and as he battled COVID. As he had noted for you by email, he did find
      it challenging to secure counsel for this matter and to submit it to his professional
      responsibility insurance carrier. See Exhibit 1. This is not the sort of bar complaint such
      insurers regularly see, as you can appreciate. Mr. Clark is truly grateful for your
      accommodation. It was very humane of you.

              1. Response to Subpoena

             In keeping with his obligation as a Member of the Bar of the District of Columbia
      to cooperate with an investigation by Disciplinary Counsel, to the extent constitutional
      and other legal constraints permit (seeD.C. Bar Rule XI, Section 8(a) ("An attorney under
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    investigation has an obligation to respond to Disciplinary Counsel's written inquiries in
    the conduct of an investigation, subject to constitutional limitations."), I am acting on Mr.
    Clark's behalf to report that in response to the subpoena and allegations (dated
    November 22, 20211), and on advice of counsel, Mr. Clark hereby pleads the Fifth
    Amendment. And to be precise, recognizing that, like the January 6 Committee in the
    U.S. House ofRepresentatives is insisting on a question-by-question invocation, you
    might do the same,2 he specifically pleads that constitutional protection as follows in
    response to each of the five specific categories of documents (in turn corresponding to
    lines of questions) you seek. We do this as to the categories of documents/lines of
    questions as we discern them from the Attachment to Subpoena (though the categories of
    documents/lines of questions are not numberedin the Attachment): 3

           1.     "Produce all documents and records (stored in hard copy or electronically),
    of which you were aware before January 4, 2021, that contain evidence of irregularities in
    the 2020 presidential election and that may have affected the outcome in Georgia or any
    other state."


    l On its own, the date of the subpoena is misleading as to the far shorter delta of time between the
    subpoena's receipt in some form and my response today. As you know, Mr. Clark did not receive the
    subpoena via email (which we do not consider service, to be clear, and please see below) until January 6,
    2022. •.SeeExhibit 1. You know that there were logistical problems in communicating the subpoena to Mr.
    Clark-logistical problems that afflicted both your Office and Mr. Clark's personal email address, where
    on each end the respective email software was diverting emails into spam boxes, etc. For instance, on
    January 10, 2021, you began an email by noting "Your emails are still going into the junk folder, and I did
    miss the one about pro hac representation. We are trying to figure out why and correct the situation."
    Exhibit 1. Your Office could have issued a new subpoena updating matters to the agreed-upon January 31,
    2022 return date but I assume that to save time, you opted not to do so.
    2 SeeIn re Barber,128 A.3d 637,640 (D.C. 2015) (Mr. Barber was "was free to invoke his Fifth Amendment
    right on a question-by-question basts .... ").

    3 Today I am also sending in a separate document a response to your letter dated November 22, 2021
    (similarly, this letter was not fully received via email by Mr. Clark until January 6, 2022). That letter should
    be deemed incorporated by reference into this letter. In includes various barriers and publicly available
    factual averments you would need to work through in order to proceed further. This letter focuses on the
    subpoena, our request for a deferral, and closely related matters.
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           •       On the advice of counsel, Mr. Clark asserts his Fifth Amendment privilege
    against self-incrimination.

           2.      "Specify what information of election fraud came to your attention
    following the announcement of Attorney General Barr on December 1, 2020, that the
    Department had found no evidence of fraud on a scale that could have affected the results
    of the presidential election."

           •       On the advice of counsel, Mr. Clark asserts his Fifth Amendment privilege
    against self-incrimination.

            3.     "Produce any file or collection of materials or correspondence, written or
    electronic, relating to any efforts that you made between the November 3, 2020,
    presidential election and January 4, 2021, that relate in any way to any efforts you made
    to persuade officials of the United States Department of Justice to intervene in the
    certification by any state, specifically including Georgia, of the results of that election."

           •       On the advice of counsel, Mr. Clark asserts his Fifth Amendment privilege
    against self-incrimination.

            4.      "Provide the results of any legal research that you conducted, had
    conducted, or received before January 4, 2021, that relate to the authority of the United
    States Department of Justice to intervene in the certification by any state of the results of
    a presidential election, including the circumstances under which the Department is
    authorized to intervene, the quantum of proof necessary for such an intervention, the
    officials within the Department whose responsibility it is to initiate such an intervention,
    and the form that such intervention should take. This information should include any
    research that addresses the responsibility of the Assistant Attorney General of the Civil
    Division or the Assistant Attorney General of the Environmental [sic] and Natural
    Resources Division to investigate allegations of election fraud."

           •       On the advic;e of counsel, Mr. Clark asserts his Fifth Amendment privilege
    against self-incrimination.
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           5.      "Provide all written policies and guidelines of the Department of Justice, of
    which you were aware and that were in effect between November 3, 2020, and January 4,
    2021, relating to the circumstances in which lawyers at the Department of Justice were
    permitted to be in direct contact with officials of the White House or the Executive Office
    of the President."

           •       On the advice of counsel, Mr. Clark asserts his Fifth Amendment privilege
    against self-incrimination.

            Note as well, as a general matter, that you are requesting at least some and likely
    many categories of documents that are in the possession of the Department of Justice.
    You can contact DOJ to request such documents going to or coming from Mr. Clark. It
    would seem incumbent on your Office to seek these documents from DOJ first before
    pursuing a subpoena path directed at Mr. Clark, a former government official who
    resigned from federal service more than a year ago on January 14, 2021. See, e.g., Freeman
    v. Seligson, 405 F.2d 1326 (D.C. Cir. 1968) (per curiam) ("[W]e are unable to tell what, if
    any, ·consideration was given to possible resort to other sources for at least some of the
    material. From what does appear, many of the documents sought are exclusively under
    the Secretary's control, and others are obtainable from third parties, if at all, only at great
    inconvenience. But we think that, particularly with so large a demand as the subpoena
    here makes, a determination on good cause requires that all reasonable alternatives be
    explored."). 4 You can check with DOJ after written notice to us that you are doing so, but
    Mr. Clark believes that while he was able to see a subset of documents he requested to
    see pursuant to DOJ regulations relating to a congressional inquiry, he is not authorized
    on his own authority to share those documents with your Office.

          When we spoke on Friday June 27, 2022, you scoffed at the prospect that Mr. Clark
    might assert his Fifth Amendment rights, and "promised" me that you would "ratchet
    up" the disciplinary sanction if he did. It is improper to make a verbal threat to retaliate

    4 "[A] division of this court [i.e., the District of Columbia Court of Appeals, the highest local court in the
    District] is normally bound by decisions of the D.C. Circuit rendered before February 1, 1971[.]" Thomav.
    KettlerBros.,Inc., 632 A.2d 725, 729 n.9 (D.C. 1993). Additionally, consistent with that, I located the Freeman
    precedent from the Westlaw _database entitled" All District of Columbia Local Cases."
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    for the exercise of constitutional rights when your own rules expressly incorporate
    constitutional limits on your investigative and disciplinary authority. It is even more
    improper to do so in writing in the email you sent me later that evening. Such an
    approach violates the Due Process Clause by penalizing the exercise of procedural rights.
    See Ex Parte Young, 209 U.S. 123 (1908). You cannot run the Bar's disciplinary system in a
    fashion that would penalize Mr. Clark for exercising his rights, just as Ex Parte Young
    faulted a state law regime for making it "difficult, if not impossible, for the company to
    obtain officers, agents, or employees willing to carry on its affairs except in obedience to
    the act and orders in question." Id. at 145.

           The Fifth Amendment protects an individual from being "compelled in any
    criminal case to be a witness against himself." U.S. Const. amend. V. An innocent person
    has the right to claim the Fifth Amendment Privilege if the information requested could
    conceivably supply a "link in the chain" leading to prosecution. As the Supreme Court
    held in Ohio v. Reiner, the Fifth Amendment "protects the innocent as well as the guilty."
    532 U.S. 17, 18 (2001). It is a "safeguard against heedless, unfounded, or tyrannical
    prosecutions." Quinn v. United States, 349 U.S. 155, 162 (1955).

            The right against self-incrimination applies to proceedings before the Office of
    Disciplinary Counsel. See, e.g., In re Artis, 883 A.2d 85, 103 (D.C. 2005) ("Given the
    allegations in this case, we find no error in the Board's decision recognizing respondent's
    right to assert his Fifth Amendment privilege"); In re Burton, 472 A.2d 831, 845-46 (D.C.
    1984) ("The hearing committee in_this case appropriately allowed Respondent to exercise
    his Fifth Amendment right not to testify, and the committee made it clear that it was
    drawing no adverse inference based on Respondent's failure to testify ... or his invoking
    his Fifth Amendment privilege.") (internal quotations and brackets omitted) (emphasis
    added); DC Bar Rule XI {8)(a) ("An attorney under investigation has an obligation to
    respond to Disciplinary Counsel's written inquiries in the conduct of an investigation,
    subject to constitutional limitations.") (emphasis added).

            The Fifth Amendment privilege can apply to a production of documents as well
    as to statements. As the DC Circuit has stated:
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            [T]he act of production communicates at least four different statements. It
            testifies to the fact that: i) documents responsive to a given subpoena exist, ii)
            they are in the possession or control of the subpoenaed party, iii) the
            documents provided in response to the subpoena are authentic; and iv) the
            responding party believes that the documents produced are those described
            in the subpoena.

    United States v. Hubbell, 167 F.3d 552, 567-68 (D.C. Cir. 1999). When asserting a Fifth
    Amendment "act of production" privilege, creating a log documenting such assertion
    would itself defeat the privilege. See, e.g. SEC v. Coldicutt, 2017 U.S. Dist. LEXIS 88401
    (C.D. CA 2017) ("[T]he involuntary act of producing a more detailed privilege log could
    have a testimonial aspect").

           While we stoutly deny that Mr. Clark has committed any criminal acts, his Fifth
    Amendment privileges are nevertheless clearly implicated here because of statements
    made by Members of the January 6 Committee and in light of the cottage industry among
    partisan pundits and legal commentators trying to dream up theories upon which he
    might be criminally prosecuted in order to try him in the press echo chamber. Some of
    these pundits and commentators are closely aligned with the Chief of Staff of the January
    6 Committee. Here is a non-exhaustive set of examples:

       •       On December 1, 2021, Chairman Bennie Thompson said on the Rachel
               Maddow Show that Mr. Clark's invocation of his Fifth Amendment rights
               meant that "in some instances you are part and parcel guilty to what
               occurred." See Tim Hains, Jan. 6 CommitteeBennie Thompson:If You Plead
               the Fifth, You're "Part and Parcel Guilty," REAL CLEAR POLITICS, availableat
               https:llwww.realclearpolitics.com/video/2021/12/02/january    6 committee
               . chairman bennie thompson if you plead the fifth youre part and p
               arcel guilty.html#.

       •      Norm Eisen, former Chief Counsel to the House Committee prosecuting
              the first impeachment of President Trump, wrote an article with Danya
              Perry and Joshua Perry that in one breath says that Mr. Clark's "fear of
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              incrimination could well be justified," and that "we don't discount the
              possibility that Mr. Clark might face prosecution for his reported conduct"
              and in another that the Committee "should explore whether there's a
              sufficient basis for Clark to invoke - or whether this is just another
              manipulation."                                                          See
              https://www.washingtonpost.com/outlook/2021/12/03/dark-eastman-
              fifth-amendment/. Mr. Eisen and January 6 Committee Chief of Staff Ms.
              Amerling are previous collaborators in other Democrat political messaging
              campaigns.            See         also         https:ljwww.acslaw.org/wp-
              content/uploads/2018/04/Smear-Campaign-cover.png.

        •     David Corn, a notorious smear merchant in the Russiagate Hoax, is
              another associate of Ms. Amerling in partisan Democrat endeavors. He
              wrote in MotherJonesthat Mr. Clark faced a reasonable prospect of criminal
              prosecution according to Norm Eisen:

              Corn: Could Jeffrey Clark be prosecuted for trying to push DOJ officials to
                    falsely declare the election corrupt? Under what laws? And would
                    there be any criminal liability for Trump, who is clearly a co-
                    conspirator?

              Eisen: Yes and yes, depending on how the investigation evolves. For
                     instance, 18 USC § 610 makes it "unlawful for any person to
                     intimidate, threaten, command, or coerce" a federal employee to
                     "engage in ... any political activity." Prosecutors could decide
                     Trump and Clark conspired to violate that statute. While there are
                     not a lot of precedents, no president has ever gone this far into
                     possible illegality before in American history.

              https:Uwww.motherjones.com/politics/2021/12/heres-why-a-former-
              trump-ally-may-plead-the-fifth-before-the-1-6-committee/ (last visited Jan.
              31, 2022).
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        •     Lawrence Tribe and Dennis Aftergut, What DoesJeffreyClarkHave to Hide -
              And What Are Congressand AG GarlandGoing to Do About It?, availableat
              https://thehill.com/opinion/judiciary/580643-what-does-jeffrey-clark-
              have-tohide- and-what-are-congress-and-ag-garland        (last visited Jan. 31,
              2022).

        •     Glenn Kirschner, DO] OfficialsThwartedTrump's Coup.Next Step:A Criminal
              Investigation.     available at        https://www.msnbc.com/opinion/doj-
              officialsthwarted-trump-s-coup-next-step-criminal-investigation-
              n1276610 (last visited Jan. 31, 2022);

        •     On August 5, 2021 an editorial from Harvard law professor Laurence H.
              Tribe, University of Michigan law professor Barbara McQuade and
              University of Alabama law professor Joyce White Vance appeared in the
              Washington Post entitled Here's a Roadmapfor the Justice Department to
              Follow in Investigating Trump. The editorial argued that Trump and
              "members of his inner circle" should be investigated for criminal offenses
              including Obstruction of an Official Proceeding (18 U.S.C. § 1512), available
              at https:ljwww.washingtonpost.com/opinions/2021/08/05/heres-roadmap-
              justicedepartment- follow-investigating-trump/ (last visited Jan. 31, 2022).

       •      On January 15, 2022, formerly influential commentator Bill Kristol tweeted
              as follows: "The forged electoral certificates show coordination across
              seven states. Those fake certificates were key to the plan of the Eastman
              memo and to the Jeffrey Clark DOJ draft letter to Georgia. The conspiracy
              involved fraud and force. At the head of the conspiracy: Donald Trump."
              available at https://twitter .com/BillKristol/status/1482343171103277065
              (italics added) (last visited Jan. 31, 2022).

       •      On December 1, 2021, the January 6 Committee voted to refer Mr. Clark to
              the Department of Justice for prosecution for criminal contempt of
              Congress.
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            It should be obvious to even the most casual observer that statements such as these
    necessitate a Fifth Amendment response to any official inquiry, including a subpoena
    from the January 6 Committee. It is equally obvious that the same considerations and
    others would apply to the subpoena you issued as Disciplinary Counsel. The letter from
    Senator Durbin that apparently prompted your inquiry openly accused Mr. Clark of
    criminal conduct. As Senator Durbin wrote, "Mr. Clark appears to have violated Rule
    l.2(e)'s prohibition against 'counsel[ing] a client to engage, or assist[ing] a client, in
    conduct the lawyer knows is criminal or fraudulent." The Bar's investigation thus has as
    its genesis an accusation of criminal misconduct by an individual U.S. Senator who is also
    the Chairman of the Senate Judiciary Committee. Cf Artis, 883 A.2d at 103 (evaluating
    Fifth Amendment assertion in light of "the allegations in this case.")

           The subject matters covered by the Bar's subpoena relate directly to the subject
    matters of the various suggestions that Mr. Clark has criminal liability or should be
    criminally investigated or prosecuted. For example, the subpoena requests
    documentation of irregularities in the 2020 election, internal Justice Department
    correspondence relating to the election, details of conversations with other individuals
    about the election and other matters. Answers to such queries, though seemingly
    innocuous in themselves, could very easily supply a "link in the chain" leading to a
    "heedless, unfounded or tyrannical prosecution[]."

            Claiming the protection of Fifth Amendment is not, as a matter of law, an
    "obstruction" of the Bar's investigation. Further, an as argued in both letters dated today,
    my opinion is that the entire investigation into the internal deliberative processes of the
    Department of Justice is ultra vires. The Fifth Amendment is unfortunately necessary
    under the circumstances because it offers available protection against a "heedless,
    unfounded or tyrannical prosecution[]." Should the Fifth Amendment concerns be
    definitively resolved, I am sure that Mr. Clark will consider offering substantive
    responses, subject to the other formal objections asserted in this letter and the
    accompanying letter of even date should the investigation reach that point.
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               2. Request for Deferral

            I hereby also respectfully request that you seek to defer this investigation under
    D.C. Board Rule (hereafter "Board Rule_") 4.1 because likely all portions (or, at the very
    least, some portions) of Senator Durbin's charges are currently being investigated by
    several other entities, including possibly but not limited to:

           •    the Senate Judiciary Committee, which the Senator Durbin complaint itself
                evidences and which your November 22 cover letter (emphasis added)
                recognizes at page 2 is merely an "interim report";

           •    the House Select Committee to Investigate the January 6th Attack on the United
                States     Capitol,    see   especially Business        :tvleeting, available at
                https://january6th.house. gov /legislation/business-meetings/business-meeting-
                report-recommending-house-representa tives-cite-0 (Dec. 1, 2021);

           •    the Inspector General of the Justice Department, see OIG Press Release, available
                at      https:lloig.justice.gov/news/department-justice-office-inspector-general-
                announces-initiation-investigation (Jan. 25, 2021).

           •    The special grand jury criminal investigation, involving former President
                Trump's election-related activities, being conducted by Fulton County, Georgia.
                See In Re: Request for Special Purpose Grand Jury, Order Approving Request for
                Special Purpose Grand Jury Pursuant to O.C.G.A. § 15-12-100, et seq., Superior
                Court of Fulton County, Atlanta Judicial District, No. 2022-EX000024 (entered
                Jan. 24, 2022);5 and

           •   a host of lawsuits involving various persons and entities related to the Dominion,
               et al. voting machines, see, e.g., Jan Wolfe & Helen Coster, Dominion Sees No
               Chance of Settling Suits Against Pro-Trump Lawyers Giuliani, Powell, REUTERS,


    5 By referencing trus proceeding, there is no acquiescence in Fulton County jurisdiction over Mr. Clark. He
    retains all of his jurisdictional defenses. Board Rule 4.1 does not require the existence of jurisdiction in a
    related pending matter over a bar member in order for it to provide proper grounds for deferral.
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              available at https:Uwww.reuters.com/legal/government/dominion-sees-no-
              chance-settling-suits-against-pro-trump-lawyers-giuliani-powell-2022-01-25/
              (Jan. 25, 2022).6

           The following table compares the 5 categories of documents in your subpoena to
    the 18 categories in the January 6 Committee subpoena:


                Items in This Subpoena                               Items in the J6 Subpoena 7


     [1] "Produce all documents and records (stored in "7. From November 3, 2020, through January 20,
     hard copy or electronically), of which you were 2021, all documents              and communications
     aware before January 4, 2021, that contain evidence provided to you relating in any way to purported
     of irregularities in the 2020 presidential election election irregularities, election-related fraud, or
     and that may have affected the outcome in Georgia other election-related malfeasance."
     or any other state."
                                                         "8. All documents and communications relating in
                                                         any way to specific allegations of voter fraud in




    6 Admittedly, no document I am aware of shows Mr. Clark taking a public position on Dominion voting
    machines while he served in the Justice Department (and to my knowledge not even after he left on January
    14, 2021). But the unsent letter to Georgia officials, which Mr. Clark is alleged to have drafted and is one
    of the focal points of your subpoena and of Senator Durbin's complaint, was also not made public by Mr.
    Clark. That means, as I cover in more detail in the accompanying separate letter from me dated today, that
    this investigation should be terminated. Your Office's seems to be proceeding on the theory that even
    confidential pre-decisional draft documents that were reportedly first batted around by a group of federal
    lawyers and then discussed with the President, but rejected and never sent or otherwise acted upon, can
    give rise to a properly founded bar discipline case. Under such a limitless theory, there is no necessary
    demarcation that would make those extraneous voting machine lawsuits unrelated for purposes of the
    deferral rule, even though Mr. Clark made no claims in a public forum about those machines. The same
    breadth you apply to your conception of the Office of Disciplinary Counsel's investigative and
    prosecutorial authority must also be applied in assessing whether other litigation or investigations are
    sufficiently related, and thus would provide grounds fo:t deferring this matter, under Board Rule 4.1.
    7 SeeExhibit 2, Subpoena to Mr. Clark from the January 6 Committee.
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                Items in This Subpoena                                   Items in the J6 Subpoena7

                                                               Georgia, Pennsylvania, Michigan, Arizona, or any
                                                               other states."


     [2] "Specify what information of election fraud           "5. All documents and communications relating in
     came     to your        attention    following      the   any way to a November 9, 2020, memorandum
     announcement of Attorney General Barr on                  from Attorney General William Barr concerning
     December 1, 2020, that the Department had found           investigation of voter fraud allegations."
     no evidence of fraud on a scale that could have
     affected the results of the presidential election."       "6. From November 3, 2020, through January 20,
                                                               2021, all documents provided to you for reviewing,
                                                               assessing, or reporting on the security of election
                                                               systems in the United States."

                                                               "9. All documents and communications relating in
                                                               any way to alleged interference with the tabulation
                                                               of votes by machines manufactured by Dominion
                                                               Voting Systems."


     [3] "Produce any file or collection of materials or       "2. All documents and communications relating in
     correspondence, written or electronic, relating to        any way to a draft letter (including previous drafts
     any efforts that you made between the November            of the letter) from the Department of Justice to state
     3, 2020, presidential election and January 4, 2021,       officials regarding the convening of a special
     that relate in any way to any efforts you made to         legislative session, delay in certification of
     persuade officials of the United States Department        election results, or any other matters concerning
     of Justice to intervene in the certification by any       the fall 2020 election."
     state, specifically including Georgia, of the results
     of that election."                                        "17. All documents and communications relating
                                                               in any way to state legislatures' selection, or
                                                               potential selection, of alternate sets of electors to
                                                               cast electoral votes in the fall 2020 election."


     [4] "Provide the results of any legal research that       "l. Communications referring or relating in any
     you conducted, had conducted, or received before          way to plans, efforts, or discussions regarding the
     January 4, 2021, that relate to the authority of the      Department     of Justice's       involvement    in
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                Items in This Subpoena                               Items in the J6 Subpoena 7

     United States Department of Justice to intervene in   investigating allegations of election fraud in the
     the certification by any state of the results of a    2020 Presidential election."
     presidential election, including the circumstances
     under which the Department is authorized to           "2. All documents and communications relating in
     intervene, the quantum of proof necessary for such    any way to a draft letter (including previous drafts
     an intervention,      the officials within      the   of the letter) from the Department of Justice to state
     Department whose responsibility it is to initiate     officials regarding the convening of a special
     such an intervention, and the form that such          legislative session, delay in certification of
     intervention should take. This information should     election results, or any other matters concerning
     include any research that addresses             the   the fall 2020 election."
     responsibility of the Assistant Attorney General of
     the Civil Division or the Assistant Attorney          "4. All documents and communications relating in
     General of the Environmental [sic] and Natural        any way to the possibility of the Department of
     Resources Division to investigate allegations of      Justice filing documents in the United States
     election fraud."                                      Supreme Court regarding allegations of election
                                                           fraud and/or the certification of the results of the
                                                           election."

                                                           "18. All documents and communications relating
                                                           in any way to Congress's or the Vice President's
                                                           role and authority when counting electoral votes."


     [5] "Provide all written policies and guidelines of   "12. All communications with former President
     the Department of Justice, of which you were          Trump, former Chief Staff to the President Mark
     aware and that were in effect between November        Meadows, or other individual who worked in the
     3, 2020, and January 4, 2021, relating to the         White House complex during the Trump
     circumstances in which lawyers at the Department      Administration, including any employee or
     of Justice were permitted to be in direct contact     detailee, relating in any way to allegations of fraud
     with officials of the White House or the Executive    in the fall 2020 election."
     Office of the President."


           You will no doubt see in the above table substantial overlap between the items
    you have subpoenaed and those that the January 6 Committee have subpoenaed, further
    supporting the wisdom of deferring this Bar inquiry.
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             Overall, within the meaning of Board Rule 4.l(a), there is thus a "pendency of a
    related ongoing criminal or disciplinary investigation or upon related criminal or civil
    litigation where there is a substantial likelihood that the resolution of the related
    investigation or litigation will help to resolve material issues involved in the pending
    disciplinary matter." See also generally D.C Bar Rule XI, Section 19(d). Note that your
    November 22, 2021, cover letter to Mr. Clark explicitly concedes that there are "parallel
    Congressional investigations." Letter from Phil Fox to Jeffrey Clark, at 3 (Nov. 22, 2021)
    (emphasis added). Accordingly, it would seem hard for your Office to now maintain that
    those investigations, which are in "parallel" and many of which began far earlier, are not
    a proper basis for a Board Rule 4.1 finding that the resolution of those other matters "will
    help to resolve material issues involved in the pending disciplinary matter." As a result,
    it is appropriate to defer this case pending the resolution of those other matters.

           Nevertheless, I do see that, in a January 10, 2022 email to Mr. Clark about the
    January 31, 2022 agreed-on deadline for responding to your letter and subpoena, you
    stated the following: "We are not going to be receptive to arguments that any production
    should be put off awaiting any action by the January 6 committee or the Department, and
    we will assess any such arguments in the context of your obligation as a member of the
    Bar to respond to our inquiries. This office is an arm of the Court, and we are not going
    to defer to a congressional inquiry or a dispute with the Department." Exhibit 1.

            Respectfully, I think your January 10 statement is directly contrary both to the
    letter and spirit of Board Rule 4.l(a), especially in light of your concession that there are
    "parallel Congressional investigations." Under that Board Rule, you should neutrally
    evaluate whether this deferral request should be granted using the criterion in the rule.
    If you disagree with my request, please explain in a response to this letter why Board
    Rule 4.l(a) does not fit this situation quite well, especially given that we are dealing here
    not with just one related matter pending elsewhere, but several such matters, multiplying
    the utility of awaiting the resolution of all of those matters, or at least some of them.
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            Additionally, speed should not be a factor, especially if the accelerated timetable
    is desired by the January 6 Committee.8 Nothing in Board Rule 4.1 indicates that it is a
    relevant factor that parties in related investigations or matters want your Office to move
    quickly to advance their own objectives through your investigation, assuming it is and
    remains independent. (By contrast, the fact that other entities want to move your Office
    along quickly reveals that they are trying to weaponize bar processes against Mr. Clark,
    something that you should steadfastly resist as part of your duty to do substantial justice
    and to maintain the separation of powers between the legislative and judicial branches of
    the federal government.) Considering such a factor would thus be improper and outside
    the bounds of Board Rule 4.1.

            We understand that requests for deferral are routinely granted even where doing
    so entails substantial delay. We certainly believe that Mr. Clark should be entitled to the
    same treatment as others in this regard. We therefore hope that upon reflection you will
    agree with the deferral request to put this inquiry on .hold until at least some of those
    matters are concluded. If you now agree, please refer my request on Mr. Clark's behalf
    for a deferral to the appropriate "Contact Member" or let me know the name and address
    of that person and I will direct this deferral request to that person, noting your non-
    opposition to it.

        4. Other Related Issues Supporting Deferral or Withdrawal of the Subpoena

           Your Office's Subpoena Power Cannot Be Used as a Substitute for a Senate
    Subpoena Power That Under Senate Rules There Is Not Enough Power to Wield. The
    complaint you have opted to docket against Mr. Clark comes directly from Senator
    Durbin, current Chair of the Senate Judiciary Committee, in his individual capacity; not
    from the Senate Judiciary Committee itself. The Committee has its own rule governing

    8 It seems curious that while this response was coming due on January 31, 2022 and just a few days ago, on
    January 27, 2022, the January 6 Committee contacted another of Mr. Clark's lawyers, Mr. Charles Burnham,
    for the first time in weeks, to seek to rapidly schedule a second deposition for Mr. Clark, which would
    inherently fall after the response to your subpoena was due. And then, just the next day, on January 28,
    2022, DOJ contacted me about providing a redacted version of a document we have long been seeking for
    the very purpose of preparing for that deposition. This is quite an alignment of stars.
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    subpoenas, which, if properly followed, could have issued its own subpoena for these
    documents. But the Committee has not done so because Rule IX of Rules of Procedure of
    the United States Senate Committee on the Judiciary provides as follows:

            The Chair of the Committee, with the agreement of the Ranking Member or
            by a vote of the Committee, may subpoena the attendance of a witness at a
            Committee or Subcommittee hearing or Committee deposition, or the
            production of memoranda, documents, records, or any other materials.
            Any such subpoena shall be issued upon the signature of the Chair or any
            other Member of the Committee designated by the Chair.

    Available at https://www.judiciary.senate.gov/about/rules  (last visited Jan. 31, 2022)
    (emphasis added). These Rules carry constitutional imprimatur. See U.S. Const. art. I,
    sec. 5 ("Each House may determine the Rules of its Proceedings .... ").

          No Senate Judiciary Committee subpoena has ever been issued to Mr. Clark.
    Under the text of Senate Judiciary Committee Rule IX, that must be because the Ranking
    Member, Senator Grassley did not concur in sending such a subpoena and because
    Senator Durbin knew that with a total of 22 Members on the Committee, evenly divided
    between the two political parties, he could not secure a majority of votes to issue a
    subpoena. Senator Durbin turned instead to your Office.

            In light of these facts and these aforementioned sources of federal law, your Office
    should regard the issue as being preempted, pursuant to the Supremacy Clause. The
    Senate Judiciary Committee is part of the federal government, to which your Office is
    subordinate. Nor is the District of Columbia able to cloak its action in any doctrine of
    federalism; the District of Columbia is subject to direct federal control. Instead, pursuant
    to the duly prescribed processes of the U.S. Senate, the even divide in the Senate logically
    precludes the issuance of a subpoena by your Office. This is representative democracy at
    work, i.e., respecting the ability of the Senate to act or not act as its balance of power lies.

           Your Office is thus obligated to respect, as the "supreme Law of the Land," U.S.
    Const. art. VI, cl. 2, the inability of the Senate Judiciary Committee to issue a subpoena to
    Mr. Clark. Allowing Senator Durbin (and perhaps his fellow Democrat Committee
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    Members)9 to functionally acquire the power to subpoena, simply by finding a willing
    local bar entity to issue the subpoena instead, is a flat-out circumvention of the inability
    of the Senate Judiciary Committee to muster the votes necessary to issue a subpoena to
    Mr. Clark. And circumvention is precisely what conflict preemption doctrine is designed
    to prevent. See, e.g., Engine Mfrs. Assn. v. South Coast Air Quality lvlanagement Dist., 541 U.
    S. 246, 255 (2004) (invalidating attempted evasion by California of commitments of
    authority to a federal agency). The Senate cannot blow hot and cold with its rules; either
    they are followed consistently or they are not. Thus, if the Senate's rules on hearing
    testimony were permissibly applied in a way that somehow allows you to receive
    testimony against Mr. Clark (something, to be clear, we reject because the applicable D.C.
    rules contemplate an independent trial-like process and on Bill of Attainder grounds),
    then the Senate's subpoena rules (and the limitations thereof) must similarly be observed.
    Or, by contrast, if the Senate's rule on subpoenas is to be ignored, then the testimony that
    came in pursuant to other portion(s) of Senate rules must similarly be ignored. 10

           In any event, as an independent matter, the Senate's rules and its authority cannot
    be supplemented by the devices of local law when the stopping points of those Rules and
    authority would be exceeded. Otherwise, the majority voting requirement of Senate
    Judiciary Committee Rule IX would be rendered a nullity.

           At the very least, there is no prudent reason for your Office to break the Senate tie
    by allowing Senator Durbin, in effect, to wield your Office's subpoena power by either


    9 Note as well, however, that the October 7, 2021 letter that was sent to you to serve as a complaint is signed
    by a.'ld purports to speak only for Senator Durbin. There is no indication in it that a Senate Judiciary
    Committee vote of any kind was held before the October 7 letter was sent. This is an independent violation
    of the Senate Judiciary Committee .Rules because there is no indication that the very serious matter of
    sending an accusation to your Office against Mr. Clark was supported by any other members. See Senate
    Judiciary Committee Rule III (Quorums), availableat https://www.judiciary.senate.gov/about/rules          (last
    visited Jan. 31, 2022). The Durbin letter obviously threatens Mr. Clark's livelihood, his reputation, and thus
    the health and integrity of his family as well. It is possible that even fellow Democrat Senators may have
    recoiled from impugning Mr. Clark, had they been asked before Senator Durbin sent his letter.
    10 However, I fully reserve Mr. Clark's constitutional rights to argue that the Senate Judiciary Committee
    was exceeding its actual sphere of powers to investigate facts only for the purpose of legislating.
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     remote control or because of a preference that might exist within your Office's personnel
    to side with Senator Durbin' s views on disputed issues in the administration of the 2020
    presidential election. That would be both abuse of prosecutorial discretion for an
    improper political end and the wading into a deep political divide in the guise of merely
    policing the ethics rules. Indeed, since there does not appear to have ever been an ethics
    case like this one, where a member of one branch of the federal government belonging to
    one political party complains about confidential internal legal deliberations between and
    among members of the opposite political party inside another branch of the federal
    government, extreme caution should be exercised. And that level of caution should be
    heightened further when the situation involves advice to the President as well. And if
    that protective approach is properly followed, this subpoena should be withdrawn or at
    least deferred pending the other actions pointed to above. Will the D.C. Bar next
    investigate Supreme Court law clerks who write drafts or propound arguments in
    confidential internal discussions that are rejected by the Justice for whom they clerked
    where a single Senator complains about that position, even though the Justice did not
    actually adopt it? As you are aware, sometimes the Justices' internal papers are released
    or leak and, on the logic that you seem to be entertaining, their clerks could thus be
    investigated years later. See Board Rule 19.1 ("Investigations, petitions, and the
    application of sanctions are not subject to any statute of limitations.").

           Federal Supremacy in the Context of Bar Disciplinary Rules. As set forth in the
    Office of Legal Counsel Opinion dated August 2, 1985 and entitled State Bar Disciplinary
    Rules as Applied to Federal Government Attorneys, 11 any local bar's assertion of disciplinary
    authority over .federal government attorneys that interferes with or penalizes the
    performance of authorized federal responsibilities trenches upon the Supremacy Clause.
    "The purported imposition of exclusive disciplinary jurisdiction by state courts upon
    federal lawyers acting in the scope of their federal authority is subject to the overriding
    requirements of the Supremacy Clause. Rules promulgated by state courts or bar
    associations that are inconsistent with the requirements or exigencies of federal service
    may violate the Supremacy Clause." Id.



    11 Available at httP-s://www.justice.gov/file/23741/download   (emphasis added) (last visited Jan. 31, 2022).
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            Other Objections. Mr. Clark also expressly reserves his right, acknowledged in
    Board Rule 2.9(a), to assert and claim, at the appropriate time, that Disciplinary Counsel's
    subpoena and each of the related requests for information, dated November 22, 2021,
    "seek[] privileged information, seeks information that exceeds constitutional limitations
    or is otherwise improper," including because, but not limited to, the fact that the requests
    and questions are vexatious, unduly burdensome, not reasonably calculated to lead to
    the discovery of information relevant to the investigation, and are otherwise improper
    under the circumstances and under the applicable D.C. Bar Rules, Board Rules, and Rules
    of the Superior Court of the District of Columbia. The requests and questions posed
    above are unreasonable under the circumstances. They amount to the equivalent of
    interrogatory discovery, which is impermissible in this context; are overbroad, vague and
    burdensome; involve information available from other sources, and present an excessive
    monetary burden. See generally In re Artis, 883 A.2d 85 (D.C. 2005). Board Rule 2.9(a).
    This rule also imposes a mandatory duty on you to consult with us at an appropriate time
    before proceeding further. I also note the obvious point that since you agreed to a January
    31, 2022 response date concerning your letters, any time periods associated with this
    process begin no earlier than today~ and since the subpoena has not been served, in reality
    even later.

           I recognize that that Board Rule specifically involves requests for information by
    you, whereas here you have opted to proceed by way of a Board Rule 3.14 subpoena
    (something that itself is curious as it attempts to use the bigger tool first). However,.as a
    matter of the structure of the Board Rules and the fact that constitutional issues exist here,
    whether you had opted to proceed via Board Rule 2.9(a) or via Board Rule 3.14, the point
    remains that request for information, including a subpoena, is invalid if it seeks to intrude
    into confidential internal legal deliberations undertaken within the federal sphere,
    especially to counsel the President, the sole head of the Executive Branch.

            The questions posed ahove thus also raise novel, complex and difficult executive
    privilege, separation of powers, Fifth and Sixth Amendment, and professional
    responsibility issues. Without duplicating the points covered in my other letter dated
    today, consider briefly just the issue of executive privilege. See, e.g., Trump v. Thompson,
    No. 21A272 (Jan. 19, 2022) (statement of Justice Kavanaugh respecting the denial of the
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    application for an injunction pending appeal) (observing that "If Presidents and their
    advisers thought that the privilege's protections would terminate at the end of the
    Presidency and that their privileged communications could be disclosed when the
    President left office (or were subject to the absolute control of a subsequent President who
    could be a political opponent of a former President), the consequences for the Presidency
    would be severe."). The majority in Trump v. Thompson were also very cautious to
    recalibrate the D.C. Circuit's apparent view to the contrary as mere dicta. See generally
    D.C. Bar Rule XI, Section 8(a) ("An attorney under investigation has an obligation to
    respond to Disciplinary Counsel's written inquiries in the conduct of an investigation,
    subject to constitutional limitations.") (emphasis added).

            Additionally, Senator Durbin was clearly not the client of Mr. Clark here. As such,
     the complaint he made to your Office cannot possibly waive any attorney-client privilege
     bindingMr. Clark. This is not the typical situation in which a complainant approaches
     you to grieve against his lawyer, or possibly seeks help in drafting a complaint, and thus
    may need to disclose his confidential information to you to explain why he is
     complaining. This is instead an atypical situation in which a highly partisan member of
    one chamber of the legislative branch of the federal government is complaining about
    internal legal advice given inside Executive Branch of the federal government by a
    member of the opposite political party. As far as I am aware, there has never been a past
    disciplinary case like this one, which is extremely novel and for that reason alone raises
    serious due process issues of fair notice. See In re Ruffalo, 390 U.S. 544 (1968) (invalidating
    a disbarment order because the lawyer had no notice that his conduct- hiring a part-
    time PELA investigator who worked for a railroad-might later be considered by some
    lawyers as an offense warranting a disbarment order); id., 390 U.S. at 556 (White &
    Marshall, J.J. concurring in the result) ("I would hold that a federal court may not deprive
    an attorney of the opportunity to practice his profession on the basis of a determination
    after the fact that conduct is unethical if responsible attorneys would differ in appraising
    the propriety of that conduct.").

            I do not go into detail on the constitutional and other privilege issue here because
    my separate letter today does so and also incorporates my prior communications on
    executive privilege and other matters with the January 6 Select Committee. All of these
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    issues, though, also support my request that Disciplinary Counsel seek deferral of this
    investigation under Board Rule 4.1.

           Unperfected Service of the Subpoena. Regarding the subpoena itself, one last issue.
    If you opt not to withdraw the subpoena or defer consideration of this matter pursuant
    to Board Rule 4.1, please address service of the subpoena. Pursuant to D.C. Bar Rule XI,
    Section 18(a), you can issue a subpoena at the investigation stage. But that Bar Rule
    incorporates D.C. Superior Court Civil Rule 45 by reference. And Superior Court Civil
    Rule 45(b) provides how service is to be accomplished. More specifically, Superior Court
    Civil Rule 45(b)(l) states that "[s]erving a subpoena requires delivering a copy to the
    named person, and, if the subpoena requires that person's attendance, tendering the fees
    for one day's attendance and the mileage allowed by law." Service in accord with the
    applicable rules has not yet occurred. Mr. Clark did agree by email to respond by today
    (which he is making good on in my two letters) but that is not the same as receiving
    formal service. Nor did Mr. Clark specifically waive his right in writing to insist on
    formal service.

           Confidentiality. It was troubling to see in your cover letter dated November 22,
    2021, your statement to Mr. Clark that you will be "sending a copy of [his] response to
    the complainant (i.e., Senator Durbin] for comment." Presumably this would have also
    included any documents produced by Mr. Clark. We submit that such a disclosure is
    neither 0necessary" under the Bar Rules, nor permitted under Rule XI and the DC Rules
    of Professional Conduct.

           I therefore include as an attachment to .this \etter a D.C. Bar Ethics Opinion that
    discusses the confidentiality and conflict of interest obligations of Bar Counsel. In cases
    such as this one, giving anyone in Congress a copy of such materials, is the functional
    equivalent of a "mass public communication" especially because the leak potential
    increases astronomically, thus converting this confidential bar investigation into a trial in
    the press. We respectfully submit that any breach of the confidentiality requirement of
    D.C. Bar Rule XI, Section 17 by you or anyone in your Office will constitute "an
    extrajudicial statement that the lawyer knows or reasonably should know will be
    disseminated by means of mass public communication and will create a serious and
    imminent threat of material prejudice to the proceeding." D.C. Rules of Professional
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    Conduct 3.6(c); 3.8(f). See D.C. Bar Legal Ethics Opinion No. 358, at n.6 Exhibit 3 (Jan. 1,
    2011). In your response to this letter, please confirm that you understand these
    restrictions. Tempting trial by media (and in this instance an especially ravenous media
    feasting on breathless and constantly hyped moral panic over 2020 election controversies)
    is improper under Ethics Opinion No. 358 and D.C. Rules of Professional Conduct 3.6(c)
    and 3.8(f) (the latter applying as you serve in the role of a "chief prosecutor/' see Office
    of      Disciplinary      Counsel,      Purpose        and      Mission,      available   at
    https:ijwww.dcbar.org/attorney-discipline/office-of-disciplinary-counsel/purpose-and-
    mission (last visited Jan. 31, 2022)).

            The Real Ethics Issues Here, If Any Were Within Your Office's Jurisdiction, Are the
    Anonymous Leaks, Likely Made by One or More Other Federal Lawyers (Not Mr. Clark),
    That Form the Genesis of Senator Durbin's Complaint. It is unfortunate for the state of
    the Republic to be saying this, but the complaint filed by Senator Durbin is a clear attempt
    to weaponize the D.C. Bar Rules against Mr. Clark, to play politics, and to besmirch Mr.
    Clark's stellar reputation .. Stellar at least until anonymous leakers (likely lawyers
    violating their own professional responsibility, obligations and other duties of
    confidentiality) attempted to paint themselves as heroes opposing former President
    Trump in a New York Times narrative that began to be spun in late January 2021. See Katie
    Benner, Trump and Justice Dept. Lawyer Said to Have Plotted to Oust Acting Attorney General,
    New         York        Times         (Jan.       22,        2021),       available        at
    https://www.nytimes.com/2021/01/22/us/politics/jeffrey-clark-trump-justice-
    department-election.htrnl.

           If anything should be done as to the ethics rules in this situation, you should be
    investigating who at the Justice Department (or who elsewhere in the federal government
    that might be lawyers) leaked to the New York Times. Trying to penetrate into the advice
    Mr. Clark gave to his colleagues in the Department of Justice and to the President of the
    United States under the shield of confidentiality is not an inquiry within the scope of D.C.
    Bar Rule XI, and thus not a matter your Office should be pursuing. Local bar counsel
    should not be trying to oversee or to regulate the superior federal government's
    confidential internal deliberations. Nor do they possess legal authority under our
    Constitution to do so.
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Redacted


From:                Phil Fox <FoxP@dcodc.org>
Sent:                Monday, January 10, 2022 12:12 PM
To:                  Jeffrey Clark
Cc:                  Jason Horrell; Azadeh Matinpour; Angela Thornton
Subject:             FW: [EXT]RE: 1st part of BLTR with attachments


FYI

‐‐‐‐‐Original Message‐‐‐‐‐
From: Angela Thornton <thorntona@dcodc.org>
Sent: Monday, January 10, 2022 12:08 PM
To: Phil Fox <FoxP@dcodc.org>
Subject: RE: [EXT]RE: 1st part of BLTR with attachments

I'm counting 541 ‐ close enough.

‐‐‐‐‐Original Message‐‐‐‐‐
From: Phil Fox <FoxP@dcodc.org>
Sent: Monday, January 10, 2022 11:48 AM
To: Angela Thornton <thorntona@dcodc.org>
Subject: FW: [EXT]RE: 1st part of BLTR with attachments

Will you confirm the total number of pages that we sent to him?

‐‐‐‐‐Original Message‐‐‐‐‐
From: Phil Fox
Sent: Monday, January 10, 2022 10:27 AM
To: Jeffrey Clark <Redacted                     >
Cc: Angela Thornton <thorntona@dcodc.org>; Jason Horrell <HorrellJ@dcodc.org>; Azadeh Matinpour
<matinpoura@dcodc.org>
Subject: RE: [EXT]RE: 1st part of BLTR with attachments

Your emails are still going into the junk folder, and I did miss the one about pro hac representation. We are trying to
figure out why and correct the situation.

First, with respect to the representation issue, there is an opinion from the Committee of Unauthorized Practice of the
D.C. Court of Appeals that essentially says a non‐D.C. lawyer can represent you without formal pro hac admission up
until the time the case goes before the Court of Appeals. That means, he can represent you during the investigation, at
any hearing before a hearing committee, should one occur, and at the intermediate appellate level before the Board on
Professional Responsibility. Only if exceptions are taken to a Board report and/or the Court otherwise hears the case
does he have to obtain pro hac admission. This recently occurred with a lawyer from Tennessee who represented a
former AUSA before a hearing committee and the Board without receiving pro hac admission. When the matter went
before the Court, where it is now pending, he applied for pro hac admission, which the Court promptly granted.

January 31 is fine, but that is a final deadline. We are not going to be receptive to arguments that any production should
be put off awaiting any action by the January 6 committee or the Department, and we will assess any such arguments in
the context of your obligation as a member of the Bar to respond to our inquiries. This office is an arm of the Court, and
we are not going to defer to a congressional inquiry or a dispute with the Department. You need to produce what you

                                                             1
EXHIBIT 1
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have by January 31. If there is additional information that you believe is relevant and that you cannot produce, you can
produce something akin to a privilege log, identifying the documents generically and explaining why you cannot produce
them.

We will double check and get back to you on the total number of pages that we sent you.

‐‐‐‐‐Original Message‐‐‐‐‐
From: Phil Fox <FoxP@dcodc.org>
Sent: Monday, January 10, 2022 10:09 AM
To: Phil Fox <FoxP@dcodc.org>
Subject: FW: [EXT]RE: 1st part of BLTR with attachments
Importance: High



‐‐‐‐‐Original Message‐‐‐‐‐
From: Jeffrey Clark <Redacted                     >
Sent: Monday, January 10, 2022 7:19 AM
To: Phil Fox <FoxP@dcodc.org>
Cc: Jason Horrell <horrellj@dcodc.org>; Azadeh Matinpour <matinpoura@dcodc.org>; Angela Thornton
<thorntona@dcodc.org>
Subject: RE: [EXT]RE: 1st part of BLTR with attachments
Importance: High

Mr. Fox,

 (1) I think there is a way to add me in your email program as a trusted recipient, which I think should solve the junk
folder issue on your end going forward.

 (2) Please also check your junk folder to see if there is an email from me earlier on Friday morning than you sent the
email below (11:01 am vs. 11:14 am) asking whether my non‐DC‐admitted prospective counsel needs to be pro hac‐ed in
to interact with your office. Or if you did see that email, please let me know whether my lawyer for this proceeding can
take over corresponding with you now or whether he needs to take some pro‐hac‐type step first. Relatedly, can you
confirm that the total package I have runs 542 pages?

 (3) Given your position on timing and the original timing delta of about three weeks to respond from when I would have
the Bar correspondence in hand, I would propose to respond, including attached documents, by Monday 1/31/22 at 5
pm. Since I could not submit a claim to my insurer without having the document in hand, Friday is the day I submitted
that claim and that is obviously relevant to how I will pay for counsel for this matter.

(4) I reserve all of my legal rights in connection with responding and will take up any points of disagreement with your
email below, such as my counsel's position concerning the relevance of the documents we are seeking from DOJ that
DOJ is resisting providing and the degree of overlap between this proceeding and the January 6 Select Committee
proceeding.

Thank you.

Respectfully submitted,

Jeff Clark



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From: Phil Fox <FoxP@dcodc.org>
Sent: Friday, January 7, 2022 11:14 AM
To: Jeffrey Clark <Redacted                     >
Cc: Jason Horrell <horrellj@dcodc.org>; Azadeh Matinpour <matinpoura@dcodc.org>; Angela Thornton
<thorntona@dcodc.org>
Subject: Re: [EXT]RE: 1st part of BLTR with attachments



For some reason your emails are ending up in our junk folder.



You are going to need to respond to our inquiry and subpoena this month. I am not willing to wait for you to resolve
whatever scheduling issues you have with the Congressional committee. Our issues are much narrower than their issues;
we are concerned only about the Rules of Professional Conduct. Although I don't understand the problem with our
getting you all the documents, the vast bulk were the Congressional report and the attachments, which I am confident
you have had for months and with which you are undoubtedly thoroughly familiar. I await your explanation of the issues
that you are having with the Department, but the subpoena only calls for documents in your possession. The
Department has been very cooperative, quickly providing Touhey letters, and we will assist you in getting any
documents that you reasonably need if we can. Given the more narrow nature of our inquiry, it is not clear what those
might be. But if we cannot quickly agree upon a time for your response and your document production to occur this
month, we will move to compel a response and to enforce the subpoena.



Get Outlook for iOS <https://aka.ms/o0ukef>

________________________________

From: Angela Thornton <thorntona@dcodc.org <mailto:thorntona@dcodc.org> >
Sent: Friday, January 7, 2022 9:52:30 AM
To: Phil Fox <FoxP@dcodc.org <mailto:FoxP@dcodc.org> >
Cc: Jason Horrell <horrellj@dcodc.org <mailto:horrellj@dcodc.org> >; Azadeh Matinpour <matinpoura@dcodc.org
<mailto:matinpoura@dcodc.org> >
Subject: FW: [EXT]RE: 1st part of BLTR with attachments



A response from Clark. (again in junk folder)



From: Jeffrey Clark <Redacted                    <mailto:Redacted                   >>
Sent: Thursday, January 6, 2022 9:23 PM
To: Angela Thornton <thorntona@dcodc.org <mailto:thorntona@dcodc.org> >
Cc: Phil Fox <FoxP@dcodc.org <mailto:FoxP@dcodc.org> >
Subject: [EXT]RE: 1st part of BLTR with attachments




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Ms. Thornton,



(1) Thanks, yes, I can confirm I now believe that today, for the first time, I have the letter and subpoena with its
attachments and thus have the full document.



Just to confirm with you, though, given our various past logistics problems (on both ends now, it seems), the whole doc,
which consists of (a) an email from you (which again I first received only tonight), (b) the ODC letter, (c) subpoena, (d)
attachment to subpoena (with the letter and both subpoena documents also received as of today for the first time), (e) a
Regulation Counsel one pager, (f) an email from Sara Zdeb to ODC Info (g) a letter from Senator Durbin, and (h) the
Senate Judiciary Committee report runs, when all assembled, to a total of 542 pages. Please confirm that total page
number is correct so that I know I'm not missing anything at this point.



Thank you again.



(2) Mr. Fox, I will endeavor to get this to my ethics counsel as soon as I can. Someone had agreed to represent me
within the last few weeks but has strangely been silent since then. He is a law professor with ethics rule expertise and
it's possible he's gearing up for the new semester or is tied up on other client matters he works on. But it wouldn't be
the first time that in this high‐profile matter a prospective lawyer has initially shown interest and then backed out.



Also, tomorrow I will send you an email forwarding some details about the latest as to a dispute I'm having with the
Justice Department about access to certain documents. I will also need to coordinate any response sent to ODC on my
behalf by counsel for that purpose in light my next deposition to the January 6 Select Committee, as there is substantial
overlap between their inquiry and yours. In light of the fact that the Select Committee process has been underway for
some time, I believe that before responding to this inquiry, I should first be permitted to complete my second
deposition. And at the moment, likely in light of the DOJ issue, that second deposition has not been rescheduled after
being postponed due to my run‐in with COVID.



After coordinating with my J6 counsel and ethics counsel, and explaining how my pending requests to DOJ impact things,
ethics counsel for me will propose a revised response date for the subpoena, given that I just received the subpoena
today.



Thank you.



Jeff Clark



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From: Angela Thornton <thorntona@dcodc.org <mailto:thorntona@dcodc.org> >
Sent: Thursday, January 6, 2022 10:36 AM
To: Redacted                     <mailto Redacted             >
Subject: FW: 1st part of BLTR with attachments



The following file(s) can be downloaded via SendThisFile:

*        2021‐D193 BLetter with attachments part 1 (002).pdf

Download Link: https://www.sendthisfile.com/WVPkz8QjV9TwpeLhh6GXOXM9
<https://www.sendthisfile.com/WVPkz8QjV9TwpeLhh6GXOXM9>

________________________________




Mr. Clark, per your email I am sending, again, the 1st part of the complaint with ODC's opening letter and written
complaint with the 1st few attachments or appendixes A‐B. A second email will follow with attachment or appendix C,
only. I apologize for the delay but your emails to me are all going into my spam folder. I will keep an eye out for your
emails in the future.



Thank you

Angela




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Jeffrey B. Clark, Esq.
Page 3



                                           SCHEDULE
In accordance with the attached Definitions and Instrnctions, you, Jeffrey B. Clark, are hereby
required to produce, all documents and communications in your possession, custody, or
control including any such documents or communications stored or located on personal devices
(e.g., personal computers, cellular phones, tablets, etc.), in personal accounts and/or on personal
applications (e.g., email accounts, contact lists, calendar entries, etc.)- referring or relating to
the following items. If no date range is specified below, the applicable dates are for the time
period April 1, 2020-present.
    1. Communications referring or relating in any way to plans, efforts, or discussions
       regarding the Department of Justice's involvement in investigating allegations of election
       fraud in the 2020 Presidential election.

    2. All documents and communications relating in any way to a draft letter (including
       previous drafts of the letter) from the Department of Justice to state officials regarding the
       convening of a special legislative session, delay in certification of election results, or any
       other matters concerning the fall 2020 election.

    3. From November 3, 2020, through January 20, 2021, communications relating in any way
       to a possible press conference or other public statement by the Department of Justice
       regarding investigations of allegations of election fraud.

    4. All documents and communications relating in any way to the possibility of the
       Department of Justice filing documents in the United States Supreme Court regarding
       allegations of.election fraud and/or the certification of the results of the election.

    5. All documents and communications relating in any way to a November 9, 2020,
       memorandum from Attorney General William Barr concerning investigation of voter
       fraud allegations.

    6. From November 3, 2020, through January 20, 2021, all documents provided to you for
       reviewing, assessing, or reporting on the security of election systems in the United States.

    7. From November 3, 2020, through January 20, 2021, all documents and communications
       provided to you relating in any way to purported election irregularities, election-related
       fraud, or other election-related malfeasance.

    8. All documents and communications relating in any way to specific allegations of voter
       fraud in Georgia, Pennsylvania, Michigan, Arizona, or any other state·s .
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